Case 2:24-cr-00357-TS          Document 22      Filed 11/06/24    PageID.49     Page 1 of 14




TRINA A. HIGGINS, United States Attorney (#7349)
CARL D. LESUEUR, Assistant United States Attorney (#16087)
BRENT L. ANDRUS, Assistant United States Attorney (NY #5143474)
Attorneys for the United States of America
Office of the United States Attorney
111 South Main Street, Suite 1800
Salt Lake City, Utah 84111-2176
Telephone: (801) 524-5682
Email: carl.lesueur@usdoj.gov

                                                                 vtJ SEALED
                           IN THE UNITED STATES DISTRICT COURT
                                       DISTRICT OF UTAH



                                                             Case: 2:24-cr-00357
  UNITED STATES OF AMERICA,                                  Assigned To : Stewart, Ted
                                                             Assign. Date: 11/6/2024

            Plaintiff,                     INDICTMENT

            vs.                            Counts 1-4: 18 U.S.C. § 1343 (Wire Fraud)
                                           Count 5: 18 U.S.C. § 1349 (Conspiracy to Commit
  AARON WAGNER, and                        Wire Fraud)
  MICHAEL MAINS,                           Counts 6-11: 18 U.S.C. § 1957 (Transactional
                                           Money Laundering)
                                           Counts 12-16: 18 U.S.C. § 1956(a)(l)(B)(i)
            Defendants.                    (Concealment Money Laundering)


      The Grand Jury Charges:

       1.         From a date unknown to the Grand Jury, but believed to be no later than

March 12, 2021, and continuing to the present, Aaron WAGNER and Michael MAINS

and coconspirators (with identities known and unknown to the Grand Jury) engaged in a

fraudulent scheme, as alleged in more detail below, designed to induce lenders and

investors to send millions of dollars to entities WAGNER and MAINS controlled.
Case 2:24-cr-00357-TS       Document 22      Filed 11/06/24     PageID.50      Page 2 of 14




WAGNER represented to lenders or investors that the funds would be used for

developing certain restaurants, but in fact intended to use the funds for personal expenses

or investments, or to prop up projects for other investor groups (which also included

himself as an investor). In all, he brought in more than $40 million from investors.

       2.     It was part of the fraud to lure others to invest in his scheme by using

investor funds to engage in conspicuous, lavish personal spending to project to potential

investors a false illusion of a successful business record. He boasted, "Every one of our

investments-from residential and commercial real estate developments to rapidly-

expanding restaurant chains-has succeeded because it creates an experience that buyers,

customers, investors and partners relate to and find enlivening." He would post pictures

of his conspicuous spending on his marketing channels, all without disclosing that his

exotic cars, personal jets, multimillion dollar homes, and extravagant lifestyle were

actually funded by theft.

       3.     WAGNER's misrepresentations extended to his personal history. For

instance, in order to convince investors of his determination and ability to overcome

hardship, he would tell a story of growing "From sports reject and broke college kid to

playing the Rose Bowl to becoming a billion-dollar portfolio manager." But WAGNER

never played in the Rose Bowl. And he never managed a billion dollar portfolio.

       4.     Frequently, his misuse of investor funds for his personal investments and

expenses left insufficient remaining funds to get projects off the ground. He would falsely

report to investors that he spent the investment funds on the business, plus invested

millions of his own aside, without disclosing he had actually diverted a substantial

                                             2
Case 2:24-cr-00357-TS       Document 22     Filed 11/06/24     PageID.51     Page 3 of 14




 amount of investment funds to himself. He would simply explain, "[D]espite our best

 efforts, we were unable to achieve success." Other times, he would attempt to cover those

 losses by pursuing new investors in other projects, then use the new investors' money to

temporarily prop up the older, already failing projects. In other words, he used new

investor money-obtained through fraud-to falsely appease old investors.

       5.      When investors or employees were critical of his business practices,

WAGNER bullied them into silence. This included persuading social media companies to

delete his critics' accounts.

       6.     When projects were successful, he and his partner, MAINS, would siphon

money to themselves before calculating the division of profits .. For example, they took

approximately $400,000 out of eight Crumbl stores between January 2021 and August

2022. They booked these funds as "Shift Leads" to make it appear they were wages paid

to employees, instead ofto themselves. As a result, profits to be shared with investors and

managers were $400,000 less than they should have been.

       7.     WAGNER and those working at his direction would prepare pitch decks for

potential investors in a specific group of restaurants. For instance, in 2021 WAGNER

would represent that he intended to open ten new restaurants for each of three different

brands, or thhty total new restaurants. WAGNER prepared a pitch deck seeking

investment in construction and launch of 10 Hello Sugar restaurants. WAGNER

represented that he had successfully opened 50 new restaurants in the last twelve months.

(He had actually opened roughly 15 restaurants in that period.) Investors were promised

that WagsCap had "completely disrupted the restaurant industry" since its inception.

                                            3
Case 2:24-cr-00357-TS      Document 22       Filed 11/06/24     PageID.52      Page 4 of 14




Investors were told that WAGNER's restaurants had a "proven track record of

profitability and investor distribution dividends monthly."

       8.     WAGNER and MAINS projected "immediate earnings, profitability, and

distributions" with potential of roughly 30% annual returns along with high long-term

company growth.

       9.     Investors were told that their investment would secure a specific percentage

of ownership in a particular group of stores. For example, investors in Hello Sugar were

told that the company (Sugar Group X, LLC) would raise a total of $5 million for 40%

equity in 10 store locations. Investors were provided with a list of start-up expenses for

each location totaling approximately $484,500. Investors were not told that funds would

be diverted for any other purpose as WAGNER and MAINS saw fit. In fact, WAGNER

and MAINS even had investors sign a subscription agreement reinforcing his

misrepresentations that the company would use the proceeds only to acquire build out

and operate the donut shops:

              Use of Proceeds. The Company will use the proceeds received from the
              Subscription Agreements to acquire, build out, and operate up to ten (10)
              different stores selling donuts, cookies, or other sweets under a common
              brand.

       10.    That is not how the proceeds were used. Instead, from more than $11

million investors provided to fund ten Dirty Bird restaurants, ten Kokonut Island Grill

restaurants, and ten Hello Sugar restaurants, WAGNER and MAINS diverted

approximately $9 million to their own purposes. For instance, they used that money

instead to fund downpayments to purchase a $4 million second home for WAGNER in


                                             4
Case 2:24-cr-00357-TS       Document 22     Filed 11/06/24     PageID.53     Page 5 of 14




 Scottsdale Arizona, an $8 million personal airplane for WAGNER and MAINS, a $4.5

million commercial property to be developed into a nightclub, called "SWAGS", and a $8

million real estate property in Missoula, Montana. They also diverted about $1 million of

the investment money to other entities owned by WAGNER, a certain family member of

his, or both of them.

        11.    Critical to concealing their scheme was their use of accounts in the name of

Wagscap Food Services, LLC. WAGNER and MAINS formed Wagscap Food Services,

LLC as a limited liability company in the State of Utah. It is headquartered in Lehi,

Utah.

        12.   Through Wagscap Food Services, WAGNER and MAINS sought

investment in restaurant brands such as Hello Sugar, Dirty Bird, Everbowl, Crumbl

Cookies, Las Botellas, and others. Each branded restaurant was offered separately to

investors under a separate company, with W agscap Food Services owning some

percentage of the entity and serving as the entity's manager. WAGNER and MAINS

would divert the investors' money to Wagscap Food Services. Then they would spend the

funds as they saw fit. They would draw upon investor funds diverted to Wagscap Food

Services' accounts to fund extravagant living and investments made not for the restaurant

investors' benefit, but their own.


                                      COUNTS 1-4
                                     18 U.S.C. § 1343
                                       (Wire Fraud)




                                            5
Case 2:24-cr-00357-TS        Document 22       Filed 11/06/24    PageID.54      Page 6 of 14




          13.   Paragraphs 1 through 12 are repeated and realleged as though fully set forth

herein.

          14.   THE SCHEME. From on or about March 12, 2021 to on or about

September 27, 2024, defendants AARON WAGNER and MICHAEL MAINS devised

and intended to devise a scheme to defraud private investors and lenders in restaurant

businesses managed by Wagscap Food Services, LLC and other related entities, and to

obtain money and property by means of materially false arid fraudulent pretenses,

representations and promises to those investors.

          15.   MANNER AND MEANS. It was part of the scheme that AARON

WAGNER, MICHAEL MAINS, and those acting at their direction:

                       a)      would offer an investment or loan with a pitch describing a
                restaurant or real estate project needing funding;

                       b)     would show off to investors in person and in promotional
                materials WAGNER's own lavish lifestyle (including personal jets, exotic
                vehicles, luxury vacations, etc.) to induce investors to believe that he was a
                successful businessman; all without disclosing that many of these indicators
                of success were in fact financed by investor funds he had stolen from the
                very businesses they were meant to support;

                      c)      would provide prospective investors or lenders false
                information about the scope and success of his and Wagscap Food
                Services' past business ventures;

                       d)     would falsely represent and agree that the funds would be
                used for investment in specific restaurants or real estate projects;

                       e)     would form entities for each of the projects;

                        f)    upon receiving investor funds, would divert the funds to other
                uses, including personal expenses and other projects;

                       g)     would repeatedly raise investment or loan funds for new
                projects with new groups of investors or lenders;

                                               6
Case 2:24-cr-00357-TS       Document 22       Filed 11/06/24     PageID.55      Page 7 of 14




                       h)     would divert funds raised from a new group of investors for
               one project to fund a separate, failing project for an earlier group of
               investors that included himself or his own entities, in order to conceal the
               fact that he had already squandered or diverted the investors' money and to
               conceal from them the fact that the funds were actually from a new or
               different investor group;

                       i)      for projects that were successful, would embezzle operating
               funds, artificially inflate the business expenses to cover their
               embezzlement, and distribute to the partners only those profits remaining
               after the inflated business expenses;

                      j)     would move funds freely among ~11 of the different
               investment projects' accounts and his own assets and accounts, for the
               purposes of concealing the fact that he had already diverted and squandered
               investors' funds;

                     k)     would manage the projects and the books, knowing and
              intending to help deceive and defraud the investors; and .

                     1)    would conceal and perpetuate the scheme by silencing critics
              and using deceptive means to disable social media accounts.

       16.    WIRES IN FURTHERANCE OF THE SCHEME. On or about each of

the dates set forth below, in the District of Utah and elsewhere,

                                  AARON WAGNER, and
                                   MICHAEL MAINS

defendants herein and their coconspirators (with identities known and unknown to the

Grand Jury), for the purpose of executing the scheme described above, and attempting to

do so, caused to be transmitted by means of wire communication in interstate commerce

the signals and sounds described below for each count, each transmission constituting a

separate count, all in violation of Section 1343 of Title 18 of the United States Code:




                                              7
Case 2:24-cr-00357-TS         Document 22       Filed 11/06/24    PageID.56     Page 8 of 14




  Count Date                          Description

    1           December 6, 2021      Transfer of $2,000,000 through FED WIRE from
                                      West Gate'Bank account for H.S.I.G. LLC in
                                      Nebraska to u:s. Bank account in Utah ending in
                                      x545 l for an investment in Hello Sugar restaurants;
    2             April 20, 2022      Transfer of $200,000 through FED WIRE from
                                      Mountain America Credit Union account for L.H. to
                                      Wells Fargo Bank account ending in x9342 for
                                      Dynamic Capital LLC for an investment in a real
                                      estate property in Missoula
    3           November 18, 2022     Transfer of $2,250,000 through FEDWIRE from a
                                      Wells Fargo account for J.J. in Florida to a US Bank
                                      account for W agscap Food Services LLC in Utah
                                      ending in x7979 as a loan from an individual for
                                      development of Dirty Bird restaurants
    4              June 7, 2023       Transfer of $5,750,250 through FEDWIRE from a
                                      California account at City National Bank to a US
                                      Bank account in Utah endingin x7979 for Wagscap
                                      Food Services LLC as an investment in W agscap
                                      Food Services LLC



                                           COUNTS
                                        18 u.s.c. § 1349
                               (Conspiracy to Commit Wire Fraud)

          17.     Paragraphs 1 through 16 are repeated and realleged as though fully set forth

herein.

          18.     From a date that is unknown but believed to be no later than March 12,

2021 to on or about the present date, in the District of Utah and elsewhere,

                                    AARON WAGNER, and
                                     MICHAEL MAINS




                                                8
Case 2:24-cr-00357-TS         Document 22       Filed 11/06/24     PageID.57     Page 9 of 14




 defendants herein, knowingly and willfully conspired and agreed with each other and

 with other persons both known and unknown to the Grand Jury to commit a wire fraud in

 violation of 18 U.S.C. § 1343, all in violation of 18 U.S.C. § 1349.

          19.     It was a part of the conspiracy that the defendants would by deceit, craft,

 trickery and dishonest means, defraud investors through the scheme described in

 paragraphs 1 through 16 above, and by covering up and concealing that scheme.


                                         COUNTS 6-11
                                        18 U.S.C. § 1957
                               (Transactional Money Laundering)

          20.     Paragraphs 1 through 19 are repeated and realleged as though fully set forth

herein.

          21.     On or about each of the dates below, in the District of Utah and elsewhere,

                                    AARON WAGNER, and
                                     MICHAEL MAINS

defendants herein, and their coconspirators did knowingly engage and attempt to engage

in the monetary transactions below, each transaction constituting a separate count and

each involving criminally derived property of a value greater than $10,000, which

property was in fact derived from a specified unlawful activity (wire fraud in violation of

18 U.S;C. § 1343), all in violation of 18 U.S.C. § 1957:

 Count Date                           Description

   6            October 15, 2021      Transfer of $726,270.55 through FED WIRE from a
                                      US Bank account in Utah ending in x6906 to a title
                                      company account at BB VA in Arizona, using funds
                                      from Kokonut Group X LLC (investors in Kokonut
                                      Grill restaurants);

                                                9
Case 2:24-cr-00357-TS          Document 22      Filed 11/06/24    PageID.58      Page 10 of 14




   Count Date                          Description

     7           November 18, 2021      Transfer of $1,027,715.29 through FED WIRE from
                                        a US Bank account in Utah ending in x7979 to a
                                        Wells Fargo Bank account in California ending in
                                       x4329 using funds from investors in restaurants,
                                       including Dirty Bird, Hello Sugar, and Kokonut
                                       Island Grill
     8           December 20, 2021     Transfer of $300,000 through FEDWIRE from
                                       Wagscap Food Services LLC's U.S. Bank account
                                       ending in x7979 to an airplane company using funds
                                       obtained from H.S.I.G. LLC intended to be invested
                                       in Hello Sugar
     9             April 20, 2022      Payment of $98,946.97 from Dynamic Capital
                                       LLC's Wells Fargo account in Utah ending in x9342
                                       to American Express for WAGNER's personal
                                       expenses, using funds obtained from L.H. intended
                                       to be invested in a real estate property in Montana
    10             June 27, 2023       Transfer of $100,000 from Dynamic Capital LLC's
                                       Wells Fargo account in Utah ending in x9342 to a
                                       Wells Fargo account in California using funds
                                       intended for restaurant projects instead for an
                                       unrelated real estate project owned by WAGNER
                                       and others
    11           November 22, 2022     Check of $293,548.40 from a US Bank account for
                                       WCFS Cantina LLC ending in x0406 to M.C. LLC
                                       using funds from J .J. intended for investment in four
                                       Dirty Bird restaurants



                                        COUNTS 12-16
                                 18 U.S.C. § 1956(a)(l)(B)(i)
                    (Money Laundering - Concealment of Wire Fraud Proceeds)

           22.     Paragraphs 1 through 21 are repeated and realleged as though fully set forth

 herein.

           23.     On or about each of the dates below, in the District of Utah and elsewhere,

                                     AARON WAGNER, and
                                      MICHAEL MAINS
                                                 10
Case 2:24-cr-00357-TS      Document 22       Filed 11/06/24    PageID.59      Page 11 of 14




 defendants herein, and their coconspirators did conduct and attempt to conduct the

 financial transactions below, each transaction constituting a separate count, and each

 transaction involving the proceeds of specified unlawful activity (namely, wire fraud in

 violation of 18 U.S.C. § 1343), knowing that the financial transaction was designed in

 whole or in part to conceal or disguise the nature, location, source, ownership, and

 control of the proceeds of specified unlawful activity (wire fraud in violation of 18

 U.S.C. § 1343), all in violation of 18 U.S.C. § 1956(a)(l)(B)(i):

  Count Date                       Description

    12     September 30, 2021      Payment of$500,000 by check from Wagscap Food
                                    Services LLC's US Bank account ending in x7979 •
                                   using funds diverted from investors in restaurants
                                    (including Kokonut Island Grill, Hello Sugar, and
                                   Dirty Bird) to purchase a lease for office space at
                                   4421 N. Thanksgiving Way, Lehi Utah
   13        October 8, 2021       Transfer of $4,280,387.50 by FEDWIRE from
                                   Wagscap Food Services LLC's US Bank account in
                                   Utah ending in x7979 to a title company's Zions
                                   Bancorp account in Arizona, using funds diverted
                                   from investors in restaurants (including Kokonut
                                   Island Grill, Hello Sugar, and Dirty Bird) to acquire
                                   a real property at 73 23 East Shoeman Lane in
                                   Scottsdale, Arizona for Wagscap, LLC
   14      November 18, 2021       Payment of a $2,529,180.29 cashier's check to First
                                   Amerjcan Title for the purchase of a property at 500
                                   South Higgins Avenue in Missoula, Montana, using
                                   funds from investors in restaurants including
                                   Kokonut Island Grill, Hello Sugar, and Dirty Bird
   15      December 30, 2021       Transfer of $395,000 by FED WIRE to a truck sales
                                   company owned by WAGNER's family member
                                   using funds diverted from investors in Hello Sugar
                                   restaurants to Wagscap Food Services
   16      September 21, 2023      Transfer of $100,000 by FED WIRE from a Wells
                                   Fargo account ending in x9326 to a Central Bank
                                   account ending in x153 l for a payment on a home at
                                             11
Case 2:24-cr-00357-TS        Document 22      Filed 11/06/24    PageID.60      Page 12 of 14




                                     781 North Country Manor Lane, Alpine Utah using
                                     funds originally from Kokonut Group X LLC and
                                     commingled with other funds to purchase a home in
                                     Scottsdale, Arizona


                     NOTICE OF INTENT TO SEEK FORFEITURE

        Pursuant to 18 U.S.C. § 981(a)(l)(C) and 28 U.S.C. § 2461(c), upon conviction of

 any offense violating 18 U.S.C. §§ 1343 or 1349, the defendants shall forfeit to the

 United States of America any property, real or personal, that constitutes or is derived

 from proceeds traceable to the offense.

        Pursuant to 18 U.S.C. § 982(a)(2)(A), upon conviction of any offense violating 18

 U.S.C. §§ 1343 or 1349, the defendants shall forfeit to the United States of America any

 property constituting, or derived from, proceeds obtained directly or indirectly, as a result

 of the scheme to defraud.

        Pursuant to 18 U.S.C. § 982(a)(l), upon conviction of any offense in violation of

 18 U.S.C. §§ 1956, 1957, or 1960, the defendants shall forfeit to the United States of

 America any property, real or personal, involved in the money laundering conspiracy,

 and any property traceable to such property.

        The property sought for forfeiture under one or more of the forfeiture authorities

 cited above, includes, but is not limited to, the following:

           •   A real estate property at 500 South Higgins Avenue in Missoula, Montana

           •   A real estate property at 781 North Country Manor Lane, Alpine Utah

           •   Proceeds of the sale of a real estate property at 73 23 East Shoeman Lane,

               Scottsdale, Arizona
                                               12
Case 2:24-cr-00357-TS            Document 22      Filed 11/06/24     PageID.61      Page 13 of 14




            •   A Cirrus SR22 aircraft with serial number 1333 and tail number N1052A

       The United States may seek a money judgment equal to the value of any property

not available for forfeiture as a result of any act or omission of the defendants for one or

more of the reasons listed in 21 U.S.C. § 853(p).

       The United States may also seek to forfeit substitute assets under 21 U.S.C.

§ 853(p).



     GRAND JURY'S PROBABLE CAUSE FINDING REGARDING FORFEITURE

       The grand jury finds probable cause to believe that:

            1. Aaron Wagner has committed the crimes specified in the above forfeiture

                notice;

            2. The following property is 1) constituted or derived from proceeds traceable

                to violations of 18 U.S.C. §§ 1343 or 1349 alleged in Counts 1 through 5,

                or 2) involved in one or more of the money laundering counts alleged in

                Counts 6 through 16, or is traceable to such property; and

            3. In the event of Aaron Wagner's conviction, such property would be subject

                to forfeiture:

                          •   A real estate property at 500 South Higgins Avenue in Missoula,
                              Montana

                          •   A real estate property at 781 North Country Manor Lane, Alpine
                              Utah

                          •   Proceeds of the sale of a real estate property at 7323 East
                              Shoeman Lane, Scottsdale, Arizona


                                                  13
Case 2:24-cr-00357-TS      Document 22     Filed 11/06/24    PageID.62    Page 14 of 14




                     •   A Cirrus SR22 aircraft with serial number 1333 and tail number
                         N1052A

                                                A TRUE BILL:




                                                FO


TRINA A. HIGGINS
United States Attorney




BRENT L. ANDRUS
Assistant United States Attorneys




                                           14
